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1
      Todd M. Friedman (SBN 216752)
      Adrian R. Bacon (SBN 280332)
2     LAW OFFICES OF TODD M. FRIEDMAN, P.C.
3     21031 Ventura Blvd, Suite 340
      Woodland Hills, CA 91364
4
      Phone: 323-306-4234
5     Fax: 866-633-0228
6
      tfriedman@toddflaw.com
      abacon@toddflaw.com
7

8                      UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA
9

10     TERRY FABRICANT, individually and on ) Case No.
       behalf of all others similarly situated, ) 2:21-cv-6453-SB-MRW
11
                                                )
12                                              ) NOTICE OF VOLUNTARY
       Plaintiff,
13                                              ) DISMISSAL WITHOUT
                                                ) PREJUDICE
14     vs.                                      )
15                                              )
       ABSTRACT CAPITAL INC, and DOES 1 )
16
       through 10, inclusive, and each of them, )
17                                              )
                                                )
18     Defendant.
                                                )
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                                    Notice of Dismissal - 1
     Case 2:21-cv-06453-SB-MRW Document 13 Filed 11/23/21 Page 2 of 3 Page ID #:41




1           NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
2     Civil Procedure 41(a)(1), hereby voluntarily dismisses the entire case without
3     prejudice. Defendant has neither answered Plaintiff’s Complaint, nor filed a
4
      motion for summary judgment. Although this case was filed as a class action, no
5
      class has been certified, and court approval of this voluntary dismissal is therefore
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      not required under Rule 23(a) of the Federal Rules of Civil Procedure.
7

8           Respectfully submitted this 23rd Day of November, 2021.
9
                                              By: s/Todd M. Friedman Esq.
10                                                 Todd M. Friedman
11
                                                Attorney For Plaintiff

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                                        Notice of Dismissal - 2
     Case 2:21-cv-06453-SB-MRW Document 13 Filed 11/23/21 Page 3 of 3 Page ID #:42




1                             CERTIFICATE OF SERVICE
2
      Filed electronically on this 23rd day of November 2021 with:
3

4     United States District Court CM/ECF system
5
      And hereby served upon all parties
6

7
      Notification sent on this 23rd of November, 2021, via the ECF system to:

8     Honorable Stanley Blumenfeld, Jr
9     United States District Court
      Central District of California
10

11    And mailed to:
12
      Abstract Capital Inc.
13    c/o, Legalinc Corporate Service
14    1967 Wehrle Dr. Suite 1 #086
      Buffalo, NY 14221
15

16    This 23rd of November, 2021
17
      By: s/Todd M. Friedman
18        Todd M. Friedman
19

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                                        Notice of Dismissal - 3
